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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:06CR214
                              )
          v.                  )
                              )
DANIELLE DORADOR,             )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

for Rule 35 hearing (Filing No. 113).          Accordingly,

           IT IS ORDERED that a hearing on said motion is

scheduled for:

                 Friday, June 8, 2007, at 1:15 p.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         Defendant need not be

present.

           DATED this 29th day of May, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
